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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 UNITED STATES of AMERICA                      CRIMINAL NO. 6:09-cr-00124(02)

 VERSUS                                        JUDGE FOOTE

 JOSE LUIS REGALADO(02)                        MAGISTRATE JUDGE HANNA


                                Memorandum Ruling

       On November 15, 2011, the undersigned conducted a hearing on

 Defendant’s Second Letter Motion to Appoint New Counsel. [Rec. Doc. 383]

 After hearing arguments from the parties, a ruling on the motion was deferred.

 [Rec. Doc. 427] Upon learning that a change of plea hearing had been scheduled

 for September 6, 2012 before the district court, the motion was revisited at a

 second hearing on July 9, 2012. (Rec. Doc. 569, 499) At the hearing, the

 defendant, with the assistance of an interpreter, was questioned at length regarding

 the issues presented by his motion. Defendant’s counsel, David Balfour, who was

 appointed at the time of the defendant’s initial appearance, was also questioned.

 For the reasons which follow, the defendant’s motion is denied.

                          Applicable Law and Discussion

       In United States v. Gharbi, 510 F.3d 550, 553-554 (5th Cir. 2007)(internal

 citations omitted), the Fifth Circuit discussed a criminal defendant’s right to
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 counsel, as follows:

              The Sixth Amendment to the Constitution guarantees
              that “[i]n all criminal prosecutions, the accused shall
              enjoy the right ... to have the Assistance of Counsel for
              his defence.” Part of this guarantee is a criminal
              defendant's right to retain the attorney of his choice. The
              right to counsel of choice, however, is not absolute.
              Rather, “the essential aim of the [Sixth] Amendment is to
              guarantee an effective advocate for each criminal
              defendant rather than to ensure that a defendant will
              inexorably be represented by the lawyer whom he
              prefers.”

       While a criminal defendant has a right to be represented by retained counsel

 of his choosing, an indigent defendant is not entitled to have a particular lawyer

 represent him, or to demand a different appointed lawyer except for good cause.

 See Morris v. Slappy, 461 U.S. 1, 103 S.Ct. 1610, 75 L.Ed.2d 610(1983);

 Cantu-Tzin v. Johnson, 162 F.3d 295, 300 (5th Cir. 1998), citing United States v.

 Breeland, 53 F.3d 100, 106 n. 11 (5th Cir. 1995).   While this case has yet to

 proceed to trial, and this Court has previously found no basis for disqualification

 of defense counsel, because of obvious language barriers the Court will consider

 the motion again to see if good cause exists for appointment of a different lawyer.

       The Fifth Circuit has explained good cause as follows:

       In order to warrant a substitution of counsel during trial, the
       defendant must show good cause, such as a conflict of interest, a
       complete breakdown in communication or an irreconcilable conflict

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       which leads to an apparently unjust verdict. If a court refuses to
       inquire into a seemingly substantial complaint about counsel when he
       has no reason to suspect the bona fides of the defendant, or if on
       discovering justifiable dissatisfaction a court refuses to replace the
       attorney, the defendant may then properly claim denial of his Sixth
       Amendment right. In the absence of a conflict which presents such a
       Sixth Amendment problem, the trial court has discretion to decide
       whether to grant a continuance during the course of trial for the
       substitution of counsel, and that decision will be reversed only if the
       court has abused its discretion. United States v. Young, 482 F.2d
       993(5th Cir. 1973)(quoting United States v. Calabro, 467 F.2d 973,
       986(2d Cir. 1972))(citations omitted).

       In conducting the appropriate inquiry regarding the defendant’s motion, the

 defendant indicated that his primary complaint in the past was the inability to

 reach his counsel by telephone. However, the defendant admitted that problem

 appears to have been rectified. Mr. Balfour represented to the Court that he had

 multiple plea negotiations with the government, that alterations to the plea

 proposal requested by the defendant himself were made, and that the plea

 packages were fully translated for the defendant before the final one which was

 accepted was signed. The defendant represented to the Court that, from the time

 of the last hearing in November of 2011 until the time the plea package was

 executed by him in April of 2012, he was satisfied with the representation

 provided by Mr. Balfour.

       This Court finds no “justifiable dissatisfaction” on the part of the defendant



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 with the representation provided to him by Mr. Balfour. While the language

 barrier does provide some obstacles to communication, Mr. Balfour insured that

 interpreter services were provided to the defendant throughout the plea negotiation

 process, and therefore, the Court finds there was not a “complete breakdown” in

 communication between the defendant and his attorney sufficient to warrant a

 change of appointed counsel. This Court has never, and does not now, find there

 is any conflict of interest between the defendant and his attorney.

 Therefore, based on the foregoing,



 IT IS ORDERED that the motion to appoint new counsel is DENIED.



       Thus done at Lafayette, Louisiana this 10th day of July, 2012.




                                 _______________________________________
                                            Patrick J. Hanna
                                      United States Magistrate Judge




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